                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

--------------------------------------------------------- X
JASON WILLIAMS,                                           :
                                                          : Case No. 5:19-cv-00475-BO
                            Plaintiff,                    :
                                                          :
               vs.                                        :
                                                          :
AT&T MOBILITY LLC,
                                                          :
                            Defendant.                    :
--------------------------------------------------------- X




                   MEMORANDUM OF LAW IN SUPPORT OF
              PLAINTIFF JASON WILLIAMS’ MOTION TO COMPEL
          DEFENDANT AT&T MOBILITY LLC TO PRODUCE DOCUMENTS




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                                         INTRODUCTION

       Plaintiff Jason Williams moves to compel Defendant AT&T Mobility LLC’s production

of documents in response to Plaintiff’s First Set of Request for Production of Documents

(“Requests”), dated June 5, 2020, pursuant to Federal Rules of Civil Procedure 26 and 34 and the

Local Rules of the Eastern District of North Carolina 26.1 and 34.1.

       As alleged in the First Amended Complaint (“FAC,” Doc. 1), AT&T caused Plaintiff’s

AT&T cellular phone account to be “SIM swapped,” resulting in significant harm and damages

to Plaintiff. In causing his account to be SIM swapped, AT&T acted negligently and in violation

of its statutory obligations to protect its customers’ data and privacy. Plaintiff successfully

opposed AT&T’s motion to dismiss the FAC, and served discovery requests on AT&T on June

5, 2020. Among other documents, Plaintiff requested that AT&T search for and produce

communications, including emails, related to AT&T’s failure to protect its customers, including

Plaintiff, from being SIM swapped.

       Plaintiff served its Requests on AT&T over eight months ago. Yet, to date, AT&T has

not produced a single email to Plaintiff. Instead of working with Plaintiff in good faith to collect

and produce responsive communications, AT&T has strung Plaintiff along, attempted to skirt its

discovery obligations by rearguing its failed motion to dismiss arguments, and unilaterally

decided search terms it would run. Plaintiff has been accommodating, but AT&T’s continued,

unjustified, and unexplained delay is frustrating Plaintiff’s ability to prosecute his claims, and

necessitates the Court’s intervention.

       Accordingly, Plaintiff submits this motion to compel AT&T to promptly produce emails

responsive to Plaintiff’s Requests.




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                                        FACTUAL BACKGROUND

 I.       Relevant Allegations In The First Amended Complaint, And AT&T’s Unsuccessful
          Motion To Dismiss

             Plaintiff’s AT&T cellular phone account was “SIM swapped” on seven occasions in 2018

      and 2019 (the “SIM Swaps”), causing him significant harm.1 (FAC ¶22; 82-90.) AT&T’s

      repeated failures to protect Plaintiff from the SIM Swaps are violations of AT&T’s statutory

      obligations and stated policies regarding the protection of customer accounts and data. (FAC

      ¶¶91-151.)

             On December 20, 2019, AT&T moved to dismiss the FAC under Fed. R. Civ. P. 12(b)(6).

      The Court denied AT&T’s motion to dismiss in its entirety, and held that AT&T could be held

      accountable for the SIM Swaps and Plaintiff’s foreseeable injuries. (Doc. 20 at 7 (“Defendant’s

      contentions that plaintiff does not connect AT&T’s acts or omissions to his injuries and that he

      was contributorily negligent require little discussion. . . The connection is clearly stated and is

      not conclusory.”).)


II.       Plaintiff’s Repeated And Unsuccessful Efforts To Obtain Relevant Emails From AT&T

          a. Plaintiff’s Requests and AT&T’s Objections

             Almost a year after its motion to dismiss was denied, AT&T has failed to turn over any

      emails responsive to Plaintiff’s Requests, or any emails at all.




      1
        “‘SIM swap’ refers to an unauthorized and illegitimate SIM card change. It is a hacking technique
      whereby the hacker induces the phone carrier to change the phone associated with the SIM card,
      rerouting the victim’s phone activity (e.g., phone calls, texts) to a third-party phone. The victim
      loses his or her phone connection while the hacker receives all of the text messages and phone
      calls intended for the victim. Once the hacker establishes control over the victim’s phone number,
      he can utilize that number to access the victim’s other online accounts, which often utilize phone-
      based, two-factor authentication for access and password change requests.” (Doc. 20 at 1-2.)


                                            2
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       On June 5, 2020, Plaintiff served his Requests and his First Set of Interrogatories to

AT&T (“Interrogatories”). (See February 12, 2021 Declaration of Christopher LaVigne

(“LaVigne Decl.”), Exs. A and B.) The Requests include requests for documents and

communications, including emails, regarding SIM swaps suffered by Plaintiff and the ongoing

problem of SIM swapping against AT&T’s customers. (See LaVigne Decl., Ex. A at 9-10,

Request Nos. 1, 2, 3, 7, and 8.) Plaintiff also served AT&T with an interrogatory (“Interrogatory

No. 15”) that attempts to identify individuals associated with AT&T with information relevant to

this dispute. (See LaVigne Decl., Ex. B at 13.)2

    b. The Parties’ Meet and Confer Efforts

       Since July 20, 2020, the parties’ counsel have engaged in lengthy meet and confer efforts

regarding AT&T’s production of responsive emails. After repeated prompting from Plaintiff

regarding Interrogatory No. 153, and over four months after receiving Plaintiff’s Requests and

Interrogatories, AT&T served supplemental Rule 26 disclosures on October 21, 2020, identifying

four AT&T employees who may have relevant knowledge (the “Four Custodians”). (See

LaVigne Decl., Ex. H at 2.)

       When Plaintiff sought responsive documents and communications from the Four

Custodians, AT&T’s counsel stated on November 5 that AT&T had not searched for and would

not search for or produce responsive emails from the Four Custodians until the parties agreed to


2
 AT&T’s Answers and Responses to Plaintiff’s Requests and Interrogatories are attached to
LaVigne Declaration as Exhibits C and D, respectively.
3
  See LaVigne Decl., Ex. E at 3-4; Ex. F at 3; and Ex. G at 1-5. During this time period, the parties’
counsel were also engaged in meet and confer efforts regarding other discovery topics, including
the production of documents not at issue in this motion. Plaintiff produced documents to AT&T
on August 18, 2020 and September 30, 2020, including responsive emails, and has provided
additional discovery information in response to follow-up requests from AT&T. AT&T produced
documents to Plaintiff on July 27, 2020, October 8, 2020, and October 23, 2020, and December
17, 2020. None contained responsive emails.


                                      3
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search terms. (See LaVigne Decl., Ex. I at 25-27.) Plaintiff responded that AT&T’s failure to

produce any responsive emails without search terms was unreasonable, as was AT&T’s decision

to raise this search term requirement five months after the Requests were issued. (See LaVigne

Decl., Ex. I at 24.) Despite this, Plaintiff provided search terms for the Four Custodians to AT&T

on November 11, and sought production of responsive documents by November 24. (See

LaVigne Decl., Ex. I at 21-23.)

       On November 12, AT&T’s counsel objected to Plaintiff’s list of terms as generally

overbroad and said it would not produce responsive documents by November 24. Instead of

negotiating revisions to AT&T’s requested search terms, AT&T unilaterally stated it would only

search for responsive documents using its own, unjustifiably narrow, list of search terms.4 (See

LaVigne Decl., Ex. I at 19-21.) Plaintiff objected to AT&T’s self-serving approach because

those narrow terms would omit responsive documents. (See LaVigne Decl., Ex. I at 16-19.)

       At this point, it became clear the parties could not complete discovery within the original

discovery schedule set by the Court, in large part because AT&T had not yet produced

responsive emails.5 Accordingly, the parties agreed to seek a joint extension of the discovery

schedule, which was granted by the Court on November 30 (the “Extended Discovery

Schedule”). (Doc. No. 54.) Plaintiff only agreed to seek the joint discovery extension based upon

AT&T’s counsel’s representation that “[AT&T] will continue in a good faith effort to reach


4
  AT&T’s proposed search terms were “(“SIM SWAP*” or “SIM HIJACK*” or (“SIM
CHANGE*” w/2 (UNAUTHORIZ* or FRAUD*))) OR (“Jason Williams” or “534115196684” or
“919-889-7464”).)
5
  See LaVigne Decl., Ex. I at 16 (“We acknowledge that you disagree with our position that
AT&T’s improper delay in providing discovery responses is the reason the parties are in the
positon of having to ask the Court for the proposed extension. Your incomplete description of the
parties’ meet and confer efforts aside, we think the fact that AT&T has not searched for, let alone
produced, any emails or non-account note communications in response to Mr. Williams’ discovery
requests speaks for itself.”).


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agreement with you on a reasonable scope that comports with Rule 26.” (See LaVigne Decl., Ex.

I at 15.)

        Unfortunately, since agreeing to the extension, AT&T has failed to work in good faith

towards its production of responsive emails. Through December 2020 and January 2021,

AT&T’s counsel continued to object to Plaintiff’s search terms as too broad, but failed to provide

any suitable alternatives beyond the overly narrow terms it unilaterally imposed, or to provide

any search totals or metrics that would allow the parties to have a productive discussion

regarding which, if any, of Plaintiff’s proposed search terms would create an undue burden on

AT&T (e.g., because those terms were capturing large amounts of nonresponsive documents).6

        On January 13, 2021, after additional calls and emails regarding AT&T’s production of

responsive emails, AT&T’s counsel reiterated its position that AT&T’s narrow terms were

sufficient, stating:

        [W]hen discussing SIM swaps, [AT&T custodians] use the terms “SIM swap” or
        “SIM hijack,” and . . . searching for the terms you proposed in Tranche 1 will not
        return pertinent results beyond what we’ve already culled.

(See LaVigne Decl., Ex. I at 6.)

        Within days of this assertion, Plaintiff discovered through its own efforts a highly

relevant email that would not be captured by AT&T’s narrow terms. In response to a subpoena,

Plaintiff received documents from Prime Communications, L.P. (“Prime”), an AT&T agent

included in AT&T’s Rule 26 disclosures (see LaVigne Decl., Ex. K at 3). Prime produced a

single email exchange between Prime employees and one of AT&T’s Four Custodians regarding

an investigation into the exact activity that goes to the heart of Plaintiff’s claims: “unauthorized


6
  Instead of discussing Plaintiff’s proposed specific terms, AT&T instead divided Plaintiff’s
proposed terms into “tranches” and opined, on January 7, 2021, that the terms in those tranches
were overbroad in the abstract. (See LaVigne Decl., Ex. I at 11-12; Ex. J.)


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     sim card changes” made by a Prime employee, Stephen Defiore7. (This email is referred to

     herein as PRIME000001; see LaVigne Decl., Ex. L.)

            On January 22, Plaintiff told AT&T that it had received PRIME000001, which made

     clear that AT&T’s unilateral search terms were insufficient, and made a final attempt to

     compromise by offering a significantly pared-down list of search terms and demanding that

     AT&T’s produce responsive emails by February 5. Plaintiff’s revised search terms only included

     terms concerning SIM swapping, Plaintiff’s AT&T account, and individuals identified in

     AT&T’s Rule 26 disclosures. (See LaVigne Decl., Ex. I at 3-5.)

            Despite acknowledging that PRIME000001 would not have been captured by AT&T’s

     unilateral narrow search terms, AT&T still only agreed to use thirteen of Plaintiff’s proposed

     terms (in addition to the insufficient terms AT&T had already committed to using). AT&T’s

     position ignores many of the potential terms that the Four Custodians might use to discuss SIM

     swapping. More alarmingly, AT&T refused to produce responsive emails by February 5 or a

     different date. (See LaVigne Decl., Ex. I at 1.)

                                               ARGUMENT

I.       AT&T’s Failure to Produce Responsive Emails is Improper and Prejudicial to Plaintiff

            Plaintiff makes this motion as a last resort. Plaintiff issued the Requests and

     Interrogatories in June 2020. After repeated prompting by Plaintiff, AT&T disclosed its own

     hand-picked Four Custodians in October 2020. Because AT&T revealed in November 2020 that

     it had not searched for and would not search for emails without agreed-upon search terms,

     Plaintiff provided a list of search terms to AT&T. AT&T disregarded those terms and improperly


     7
      Defiore was identified by AT&T in its initial disclosures (see LaVigne Decl., Ex. K at 2), and
     other, non-email documents produced in this lawsuit confirm that Defiore accessed Plaintiff’s
     AT&T account during the period that Plaintiff was subjected to the SIM Swaps.


                                           6
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declared it would run its own search terms. Yet, in February 2021, AT&T has still not produced

any emails from the Four Custodians, and has not said when it will do so. Enough is enough.

       Plaintiff has attempted to work with AT&T in good faith for months regarding the

production of responsive emails. AT&T’s response has been to indefinitely delay production of

any emails, and rebuff repeated efforts by Plaintiff’s counsel to discuss which of Plaintiff’s

proposed terms will be unduly burdensome. At this late date, over eight months after Plaintiff

served its Requests and Interrogatories, AT&T has still not produced any responsive emails from

the Four Custodians (or from any other AT&T employees or agents). AT&T’s stall tactics have

necessitated this motion to compel. See Fed. R. Civ. P. 37(a)(3)(A).

       AT&T fundamentally misunderstands, or, worse, deliberately disregards, its discovery

obligations. Plaintiff’s claims concern the SIM Swaps perpetrated against his AT&T phone and

AT&T’s, among other things, negligent failure to protect his account. These claims are based not

only on AT&T’s failure to adhere to the specific security protocols it claimed it put in place after

Plaintiff was first SIM swapped (FAC ¶¶37-81), but also on AT&T’s knowledge that its

customers, including Plaintiff, were at risk of SIM swapping and its failure to properly address

this risk. (FAC ¶¶122-45.) AT&T’s discussions of the risks, policies, and procedures regarding

SIM swapping are fundamental to Plaintiff’s claims. Accordingly, Plaintiff’s Requests and

Interrogatories seek emails to, from, and amongst AT&T employees regarding these issues.

Despite AT&T’s attempt to produce only communications related specifically to Plaintiff,

Plaintiff is entitled seek discovery of this relevant information. See Fed. R. Civ. P. 26(b)(1)

(“Parties may obtain discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case…”); Mainstreet Collection, Inc. v.

Kirkland’s, Inc., 270 F.R.D. 238, 240 (E.D.N.C. 2010) (“During discovery, relevance is broadly




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construed to encompass any matter that bears on, or that reasonably could lead to other matter

that could bear on, any issue that is or may be in the case”) (quotation and citations omitted).

       Plaintiff has made numerous concessions to AT&T in an attempt to address AT&T’s

concerns about being subjected to an undue discovery burden in its search for responsive emails.

Plaintiff has agreed that, at least in the first instance, AT&T may only produce emails from its

chosen Four Custodians. Plaintiff has also agreed that, at least in the first instance, AT&T may

only produce emails from the time period January 1, 2018 through December 31, 2019, even

though the Requests and the allegations in the FAC cover a longer time period. (See LaVigne

Decl. ¶ 14.) At AT&T’s request, Plaintiff provided search terms to facilitate AT&T’s search for

responsive documents. Plaintiff recently offered another concession by limiting its original list of

search terms.

       However, Plaintiff cannot agree to allow AT&T to only use admittedly narrow, facially

insufficient search terms. As the revelation of PRIME000001 makes clear, neither Plaintiff nor

AT&T, let alone their counsel, knows exactly how the Four Custodians and the people they

communicate with have phrased responsive emails. By failing to agree to search terms sufficient

to capture the potential ways in which responsive topics might be discussed, AT&T has failed to

comply with its obligation to conduct a reasonable search for responsive documents, including

emails. See Selee Corp. v. McDanel Advanced Ceramic Techs., LLC, No. 1:15-CV-00129-MR,

2016 WL 4546446, at *3 (W.D.N.C. Aug. 31, 2016) (“The Federal Rules of Civil Procedure

impose a duty upon companies responding to discovery to conduct a reasonable investigation,

make reasonable inquiries of its employees, and fully respond to interrogatories and document

requests.”) (quotations and citations omitted).




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             AT&T’s ongoing refusal to produce responsive emails is causing significant prejudice to

      Plaintiff’s ability to prosecute his claims. The Extended Discovery Schedule requires the parties

      to complete discovery by June 18, 2021. This date is fast approaching. Without AT&T’s

      responsive emails, Plaintiff is unable to properly notice and prepare for depositions, retain

      experts, or prepare for dispositive motion practice and/or trial. Importantly, without responsive

      emails, Plaintiff is unable to determine if additional documents or information from additional

      AT&T custodians should be requested. Given AT&T’s delays thus far, any additional requests

      and AT&T’s attendant responses, collection, and production will severely encroach on the June

      discovery deadline. Plaintiff’s ability to meet the interim deadlines in the Extended Discovery

      Schedule is similarly imperiled without any of AT&T’s emails. For example, Plaintiff’s deadline

      to amend its pleadings or join additional parties is March 15, 2021. Plaintiff needs AT&T’s

      responsive emails, including AT&T’s emails to and from third parties, to determine if he should

      amend his claims or join additional parties.

             Unfortunately, the meet and confer record demonstrates that AT&T is unwilling to timely

      produce responsive emails without prompting from the Court. Accordingly, we respectfully

      request that the Court grant Plaintiff’s motion to compel, so that the parties can move past this

      issue and get discovery in this case back on track.


II.      AT&T Should Pay Plaintiff’s Reasonable Expenses Incurred in Making this Motion

             AT&T’s failure to produce responsive emails in response to Plaintiff’s requests has

      necessitated this motion to compel. AT&T’s nondisclosure of this responsive information is not

      substantially justified. Accordingly, pursuant to Fed. R. Civ. P. 37(a)(5), Plaintiff requests that

      AT&T pay Plaintiff’s reasonable expenses incurred in making this motion, including attorney’s

      fees, in the amount of $25,086.00. Aramark Unif. & Career Apparel, LLC v. Hernandez, No.



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7:16-CV-336-BR, 2018 WL 651336, at *3 (E.D.N.C. Jan. 31, 2018) (finding defendant’s failure

to respond to discovery requests, in light of plaintiff’s good faith effort to resolve the matter

before filing a motion to compel, entitled plaintiff to costs of filing the motion).

                                          CONCLUSION

       For the foregoing reasons, the Plaintiff respectfully requests this Court to enter an order

requiring Defendant to produce the documents requested in Plaintiff’s First Set of Requests for

Production of Documents, including specifically any emails and documents belonging to the

Four Custodians that are responsive to Plaintiff’s Requests 1, 2, 3, 7, and 8.


Dated: February 12, 2021
       New York, New York

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